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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                             ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                        15-cv-07433-RWS




                                                               ......
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                        Declaration Of Laura A. Menninger In Support Of
             Motion To Compel All Attorney-Client Communications and Attorney
                 Work Product Placed At Issue by Plaintiff and Her Attorneys


        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Ms. Maxwell’s Motions to Compel All Attorney-Client Communications and Attornty Work

Product Placed At Issue by Plaintiff and Her Attorney.

        2.       Attached as Exhibit A is a true and correct copy of excerpts categorically logged

entries from Plaintiff Giuffre's Revised Supplemental Privilege Log dated April 29, 2016.

        3.       Attached as Exhibit B is a true and correct copy of Plaintiff Giuffre’s Discovery

Second Amended Supplemental Response to Interrogatory No. 3 concerning her attorney

representations, dated April 29, 2016.
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       4.     Attached as Exhibit C (filed under seal)




       5.     Attached as Exhibit D is a true and correct copy of the Order in the CVRA Case

dated April 6, 2015.

       6.     Attached as Exhibit E is a true and correct copy of the Motion for Summary

Judgment in the Edwards and Cassell v. Dershowitz, Case No. 15-00072, In and for the

Seventeenth Judicial District, Broward County, Florida (“Dershowitz Case”) dated November

25, 2015.

       7.     Attached as Exhibit F is a true and correct copy of the Complaint in the

Dershowitz Case dated January 6, 2015.

       8.     Attached as Exhibit G is a true and correct copy of the Notice of Serving Answers

to Interrogatories in Dershowitz Case dated March 13, 2015.

       9.     Attached as Exhibit H (filed under seal)




       10.    Attached as Exhibit I is a true and correct copy of the Declaration of Virginia

Giuffre in the Dershowitz Case dated November 20, 2015.

       11.    Attached as Exhibit J (filed under seal)




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       12.     Attached as Exhibit K (filed under seal)




       13.     Attached as Exhibit L is a true and correct copy of the October 16, 2015

Deposition of Paul G. Cassell taken in the Edwards and Cassell v. Dershowitz, In and for the

Seventeenth Judicial District, Broward County, Florida matter.

       14.     Attached as Exhibit M is a true and correct copy of the press release issued by the

parties in the Dershowitz Case on April 8, 2016.

       15.     Attached as Exhibit N is a true and correct copy of the interview of Virginia

Roberts by Edwards and Scarola in the Epstein v. Rothstein, Edwards, and L.M, In and for the

Fifteenth Judicial District, Palm Beach County, Florida (“Epstein Case”).

       16.     Attached as Exhibit O is a true and correct copy of the May 17, 2011 Notice of

Filing of the interview in the Epstein Case.

       17.     Attached as Exhibit P is a true and correct copy of a portion of the ECF Docket

Sheet in the CVRA Case.

       18.     Attached as Exhibit Q is a true and correct copy of the document produced by

Plaintiff in this matter as GIUFFRE000862-000887.




                                                   By: /s/ Laura A. Menninger
                                                   Laura A. Menninger




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                              CERTIFICATE OF SERVICE

      I certify that on May 26, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Motion To Compel All Attorney-Client Communications and Attornty
Work Product Placed At Issue by Plaintiff and her Attorney via ECF on the following:

Sigrid S. McCawley                             Paul G. Cassell
Meridith Schultz                               S.J. Quinney College of Law, University of
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                                               /s/ Nicole Simmons
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